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                      UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

UNITED STATES OF AMERICA              :
                                      :    NO. 1:05-CR-00025(11)
                                      :
   v.                                 :
                                      :    OPINION AND ORDER
                                      :
AYED ALHASASNEH                       :
                                      :
                                      :


            On    April     21,    2005,     Defendant      Ayed    Alhasasneh

(“Alhasasneh”) was charged in a superseding indictment with fraud

in connection with identification documents, a violation of 18

U.S.C. §§ 1028(a)(1) and (b)(1) (doc. 159).                 On May 5, 2005,

Alhasasneh filed a Motion for a Bill of Particulars (doc. 177),

followed by the filing of a Motion to Dismiss (doc. 187) on May 16.

Shortly thereafter, however, Defendant counsel filed a Motion to

Withdraw, and the Court granted this motion on June 16, 2005.                The

Court appointed Alhasasneh CJA counsel and, shortly after new

counsel’s appearance, he elected to enter a plea of guilty to Count

3 of the superseding indictment.           His decision to do so renders

these pending motions moot.

            Accordingly, Alhasasneh’s Motion for Bill of Particulars

(doc. 177) and Motion to Dismiss (doc. 187) are DENIED AS MOOT.

            SO ORDERED.



Dated: August 12, 2005               /s/ S. Arthur Spiegel
                                    S. Arthur Spiegel
                                    United States Senior District Judge
